    Case 14-10657-JDW        Doc 73     Filed 09/20/18 Entered 09/20/18 10:59:20         Desc
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                       IN THE UNITED STATES BANKRUPTCY COURT
                        IN THE NORTHERN DISTRICT OF MISSISSIPPI
IN RE:                                              BANKRUPTCY NO: 14-10657-JDW
         JERLENE PRYOR
         827 MOUNT PEEL RD
         HOLLY SPRINGS, MS 38635-7206



                              NOTICE AND MOTION TO DISMISS

       COMES NOW, Locke D. Barkley, the duly appointed and qualified Standing TRUSTEE in the
above cause and moves to dismiss the above proceeding for the reason that the DEBTOR has failed to
make payments into the plan as required by Chapter 13 of the Bankruptcy Code.

       NOTICE IS HEREBY GIVEN, to the DEBTOR herein, that unless the below required sum is
received by the TRUSTEE, or a written responsive pleading is filed with the Clerk of the Court with a
copy to the TRUSTEE prior to the below depicted due date, the Chapter 13 proceeding of the above
DEBTORS will be dismissed.

       WHEREFORE, TRUSTEE moves this Court to enter its Order of Dismissal unless said sum is
received as set out herein or said responsive pleading is properly filed.

DATED: 09/20/2018                             Locke D. Barkley              Locke D. Barkley
                                              Chapter 13 Trustee            Chapter 13 Trustee
                                              P.O. Box 1859                 6360 I-55 North
                                              Memphis, TN 38101-1859        Suite 140
AMOUNT DUE: $1,854.00                                                       Jackson MS 39211
(As of 9/19/2018 through the end of 9/2018)                                 (601) 355-6661
Plus accruing payments                        (PAYMENTS ONLY)               (CORRESPONDENCE)

DATE DUE: 10/11/2018

                                  CERTIFICATE OF SERVICE

       I, Locke D. Barkley, Standing Trustee, do hereby certify that I have electronically filed the
foregoing with the Clerk of Court using CM/ECF system, and hereby further certify that I have served a
copy of the foregoing upon the debtor(s), debtor's attorney of record and to the Office of the U.S.
Trustee via electronic notice or mail.

DATED: 09/20/2018
                                                                 /s/ Locke D Barkley
                                                                 LOCKE D. BARKLEY
                                                                 CHAPTER 13 TRUSTEE
DEBTOR'S ATTORNEY

         KAREN SCHNELLER
         JONES & SCHNELLER
         P O BOX 417
         HOLLY SPRINGS, MS 38635-0417
